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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------x
JOSE FIGUEROA,

                      Plaintiff,                               COMPLAINT

       vs.                                                    Case No.: 1:18-cv-


STEVEN CROMAN, 232 W 14th LLC,                                JURY TRIAL DEMANDED
PATRICK MCKNIGHT, DERMOT
BURKE and CK 14 TO GO, LLC,



                     Defendants.
- - - - - - - - - - - - - - - --x

       Plaintiff, JOSE FIGUEROA (hereinafter the “Plaintiff”), through his undersigned

counsel, hereby files this Complaint and sues STEVEN CROMAN, 232 W 14th LLC,

PATRICK MCKNIGHT, DERMOT BURKE and CK 14 TO GO, LLC, (hereinafter, the

“Defendants”) for injunctive relief, attorney’s fees and costs (including, but not limited to, court

costs and expert fees) pursuant to 42 U.S.C. §12181, et. seq., of the AMERICANS WITH

DISABILITIES ACT (“ADA”), the NEW YORK CITY HUMAN RIGHTS LAW

("NYCHRL"), and the NEW YORK STATE HUMAN RIGHTS LAW (“NYSHRL”) and

alleges:


                               JURISDICTION AND PARTIES

           1.     This is an action for declaratory and injunctive relief pursuant to Title III

           of the Americans With Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter

           referred to as the “ADA”). This Court is vested with original jurisdiction under

           28 U.S.C. §1331, 1343, 2201 and pursuant to §1367(a) and the Court has

           supplemental jurisdiction over Plaintiff’s claims brought under the laws of the

           State of New York.
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        2.      Venue is proper in this Court, pursuant to 28 U.S.C. §1391(B) in that all

events giving rise to this lawsuit occurred in New York and the acts of discrimination

alleged in this complaint occurred in this District and the public accommodation which is

the subject of this action is situated in this District.

        3.      The remedies provided by the New York State Human Rights Law Against

Discrimination are not exclusive and state administrative remedies need not be exhausted

in connection with suits brought under the Federal Civil Rights Act.

        4.      At the time of Plaintiff’s visit to the Defendants’ Subject Facility in

January of 2018, prior to instituting the instant action, JOSE FIGUEROA (hereinafter

referred to as “Plaintiff”) was a resident of the State of New York and suffers from what

constitutes a “qualified disability” under the Americans with Disability Act of 1990.

He is an individual with numerous disabilities including spinal stenosis which causes a

restriction to his spinal canal, resulting in neurological deficits.

        5.      The Plaintiff personally visited Defendants’ Property, but was denied

full and equal access to, and full and equal enjoyment of the facilities at Defendants’

Property, which is the subject of this lawsuit.

        6.      Upon information and belief defendants are authorized to conduct,

and is conducting business within the State of New York and is the owner, lessee

and/or operator of the real property (hereinafter and heretofore referred to

collectively as “Defendants’ Property”) and the owner of the improvements of the

Subject Facility which is located at 232 West 14th Street, New York, New York

10011, (hereinafter and heretofore referred to collectively as “Subject Facility”).




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        7.      Upon information and belief, the Defendants maintain, manage and control

the Subject Facility, established as a restaurant, The Crooked Knife, and is a “place of

Public Accommodation” within the meaning of Title III of the ADA because its operations

affect commerce and among other things, it is “a restaurant, bar or other establishment

serving food or drink.” 42 U.S.C. §12181(7)(B); see 28 C.F.R. §3 6.104. All events giving

rise to this lawsuit occurred in the City and State of New York and as such venue is proper

in this Court as the premises are located in the City and State of New York.

 COUNT I – VIOLATIONS OF THE AMERICANS WITH DISABILITIES ACT

        8.      On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises were

provided one and a half years from enactment of the statute to implement its requirements.

The effective date of the Title III of the ADA was January 26, 1992. 42 U.S.C. §12181; 20

C.F.R. §36.508(a).

        9.      Congress found, among other things, that: `1D

                (i)     some 43,000,000 Americans have one or more physical or
                mental disabilities, and this number shall increase as the population
                continues to grow older;

                (ii)     historically, society has tended to isolate and segregate
                individuals with disabilities, and, despite some improvements,
                such forms of discrimination against disabled individuals continue
                to be a pervasive social problem, requiring serious attention;

                (iii)     discrimination against disabled individuals persists in
                such critical areas as employment, housing, public
                accommodations, transportation, communication, recreation,
                institutionalization, health services, voting and access to public
                services and public facilities;

                (iv)     individuals with disabilities continually suffer forms of
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      discrimination, including outright intentional exclusion, the
      discriminatory effects of architectural, transportation, and communication
      barriers, failure to make modifications to existing facilities and practices.
      Exclusionary qualification standards and criteria, segregation, and
      regulation to lesser services, programs, benefits, or other opportunities; and,

      (v)      the continuing existence of unfair and unnecessary
       discrimination and prejudice denies people with disabilities the
       opportunity to compete on an equal basis and to pursue those
       opportunities for which our country is justifiably famous and costs
       the United States billions of dollars in unnecessary expenses resulting
       from dependency and non-productivity.

      42 U.S.C. §12101(a)(1) -(3), (5) and (9).

10.   Congress explicitly stated that the purpose of the ADA was to:

      (i)    provide a clear and comprehensive national mandate for the
      elimination of discrimination against individuals with disabilities;

      (ii)   provide clear, strong, consistent, enforceable standards
      addressing discrimination against individuals with disabilities; and,

      (iii)   invoke the sweep of congressional authority, including the
      power to enforce the fourteenth amendment and to regulate
      commerce, in order to address the major areas of discrimination faced
      on a daily by people with disabilities.

      42 .S.C. §12101(b)(1)(2) and (4).


       (iv) Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Subject

      Facility is a place of public accommodation in that it is a Restaurant, which

      provides goods and services to the public.
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        11.     The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations, and/or undergone substantial remodeling, repairs

and/or alterations, since January 26, 1990, and/or has sufficient income to make readily

achievable accessibility modifications.

        12.     Defendants have discriminated, and continues to discriminate, against the

Plaintiff, and others who are similarly situated, by denying full and equal access to, and

full and equal enjoyment of, goods, services, facilities, privileges, advantages and/or

accommodations at Defendant’s Property, in derogation of 42 U.S.C. §12101, et. seq.,

and as prohibited by 42 U.S.C. §12182, et. seq., and by failing to remove architectural

Barriers pursuant to 42 U.S.C. §12182(b) (2) (a) (IV), where such removal is

readily achievable.

        13.     The Plaintiff has been unable to, and continues to be unable to, enjoy full

and equal safe access to, and the benefits of, all the accommodations and services offered

at Defendants’ Property. Prior to the filing of this lawsuit, Plaintiff personally visited

Defendants’ Property, with the intention of using Defendants’ facilities, but was denied

access to the Subject Property, and therefore suffered an injury in fact. Plaintiff specifically

intends to visit the Restaurant in the future but continues to be injured in that he is unable

to and continues to be discriminated against due to the architectural barriers which remain

at Subject Property, all in violation of the ADA, and the New York State and New York

City Human Rights Law. The barriers to access the Restaurant have effectively denied

Plaintiff’s ability to visit the property and have caused embarrassment and frustration to

the Plaintiff by not being able to access the Restaurant.




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        14.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the

Department of Justice, Office of the Attorney General, promulgated Federal Regulations

to implement the requirements of the ADA, known as the Americans with Disabilities

Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

which said Department may obtain civil penalties of up to $110,000 for the first

violation and $150,000 for any subsequent violation.

        15.     The Defendants’ Subject Facility is in violation of 42 U.S.C. §12181, et.

seq., the ADA and 28 C.F.R. §36.302, et. seq., and is discriminating against the Plaintiff

as a result of inter alia, the following specific violations:

  Failure to provide an accessible entrance due to the seven steps at the entrance to the
  Restaurant and the failure to install ramps with appropriate slope and signage, and/or
  otherwise provide an accessible and properly designated entrances, as required by 28
  C.F.R. Part 36. The steps leading into the Subject Facility are an insurmountable
  barrier to the ingress and egress of Plaintiff and other individuals who use
  wheelchairs violating 207. Standards 4.3.2(1) requires at least one accessible route
  be provided from public streets or sidewalks to the accessible building entrance they
  serve. The steps at the entrance to the Restaurant means there is no accessible route
  for the Plaintiff and others so situated.

  The steps at the entrance violates 206.1, 206.2, and 206.2.1 by failing to provide an
  accessible route from the city sidewalk to the restaurant entrance. These steps are an
  insurmountable barrier to the ingress and egress of Plaintiff and other individuals who
  use wheelchairs violating 207. The steps violate 206.4 which require that entrances shall
  comply with 404 and be on an accessible route complying with 402. The entrance to the
  Restaurant doors violates 404.2.4, which requires minimum maneuvering clearances at
  doorways; 404.2.4.3 by failing to provide adequate maneuvering clearance for a
  recessed doorway. Changes in level are not allowed. Required minimum maneuvering
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clearance not provided at entrance doors to the Restaurant; The entrance to the
Restaurant is in violation of 404.2.6 when pivoted doors or gates are in series, a
separation is required that is at least 48” plus the width of doors or gates swinging into
the space. This would allow users to clear one door or gate before opening the next and
applies to those doors or gates that are opposite each other where travel through both
doors is required.
Required minimum maneuvering clearance not provided at entrance doors to the

restaurant; Failure to provide accessible aisles of at least 36 inches clearance between

parallel edges of tables or between a wall and the table edges to all accessible tables in

accordance with the requirements of 28 C.F.R. Part 36, Section 5.3. Failure to provide
accessible seating for a disabled person(s) at a bar or adjacent table in the bar area as

required by 2010 ADAAG §902, 902.1, 902.3, 4.32.4. Inaccessible dining tables as

required minimum knee and toe clearance not provided at dining tables.

Compliant signage identifying the restroom not provided as required. Failure to provide

an accessible pathway, of at least 36 inches in width, in front of restroom area, in

violation of 28 C.F.R. Part 36, Section 4.3.3. The flight of the interior stairs, three (3)

create an insurmountable barrier to the ingress and egress of Plaintiff and other

individuals who use wheelchairs violating 207.1; Failure to provide access to restroom,

on lower level without an elevator and/or wheelchair lift, in violation of 28 C.F.R. Part

36, Section 4.3. Failure to provide accessible entrance due to the step at said entrance to

the restroom as required by 28 C.F.R. Part 36.

Failure to provide at least one lavatory that has a clear floor space for a forward
approach of at least 30 inches wide and 48 inches long as required by 2010 ADAAG §
606.2;

Failure to provide sufficient clear floor space around water closet in bathroom which
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does not allow for any obstructing elements in these spaces as required by 2010

ADAAG §§ 4.22, 603, 603.2.3, 604, 604.3 and 604.3.1. Failure to provide sufficient

clear floor space/sufficient turning radius in restroom, to provide safe adequate

maneuverability. Failure to rearrange stall partitions and/or walls to provide sufficient

accessibility and maneuvering space in restroom for individuals with disabilities, as

required by 28 C.F.R. Part 36, Section 4.17. Failure to provide a clear path to the water

closet that is the proper width as required by 2010 ADAAG § 403.5.1; Failure to

provide accessible restroom door handles, that can be operable with one hand and does

not require tight grasping, pinching or twisting of the wrist, as required by 28 C.F.R

Part 36, Sections 4.13.9 and 4.27.4. Failure to provide at least 17 inches depth clearance

under lavatory as required by 28 C.F.R. Part 36, Section 4.19.2, and storage of items

underneath. Failure to provide at least 17 inches depth clearance under lavatory as

required by 28 C.F.R. Part 36, Section 4.19.2, and storage of items underneath.

Failure to provide a hand operated flush control located on the open side of the

accessible water closet as required by Section 604.6.

Failure to provide the required underside clearance of at least 29 inches above the

finished floor to the bottom of the apron under lavatory for accessibility, in compliance
with 28 C.F.R. Part 36, Section 4.1 and Section 4.19.2.

Failure to provide soap dispenser at an accessible height in restroom, as required by 28

C.F.R. Part 36, Section 4.22.7. Failure to install accessible mirror in restrooms in

compliance with 28 C.F.R. Part 36, Section 4.19.6. Failure to provide an accessible locking

mechanism on restroom door that can be operable with one hand and shall not require tight

grasping, pinching or twisting of the wrist as required by 28 C.F.R. Part 36, Section 4.27.4.

Failure to provide ADA compliant signage in restroom areas in violation of 28 C.F.R. Part

36, Section 4.30. Failure to install the required rear grab bar in restroom, around an
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accessible toilet in accordance with 28 C.F.R. Part 36, Section 4.17.6. Failure to provide

adequate directional and accurate informational signage throughout the Subject Facility as

required by 28 C.F.R. Part 36, Section 4.1.3(16).

Failure to provide signage in the Subject Facility addressing people with
disabilities telling them that accessible services are provided as required by
28 C.F.R. Part 36, Section 4.30.4. Photographs depicting some of the
discriminatory barriers are annexed as Exhibit A, made a part hereof and
incorporated by reference herein.
   16.      Upon information and belief, there are other current violations

  of the ADA at Defendants’ Property, and only upon a full inspection can

  all said violations be identified.

   17.      To date the architectural barriers, the removal of which is readily

            achievable, and other violations of the ADA still exist and have not

            been remedied or altered in such a way as to effectuate compliance

            with the provisions of the ADA.

   18.      Pursuant to the ADA, 42 U.S.C. §12101 et seq., and 28 C.F.R.

            §36.304, the Defendants were required to make the Subject Facility,

            a place of public accommodation, accessible to persons with disabilities
            since January 28, 1992. To date, the Defendant has failed to comply with

            this mandate.

    19.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

            to grant the Plaintiff’s injunctive relief; including an order to alter the

            subject facility to make them independently accessible to, and

            useable by, individuals with disabilities to the extent required by the

            ADA and closing the subject facilities until the requisite modifications are

            completed.
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   20.    Defendants’ failure to remove the barriers to access constitutes a

          pattern and practice of disability discrimination in violation of 42

          U.S.C. sections 12188(b)(1)(B)(i), (b)(2)(A)(iv), and 28 C.F.R. Sec.

          503(a).


  COUNT II - VIOLATIONS OF THE NEW YORK CITY HUMAN RIGHTS
                             LAW

    21.    The New York City Human Rights Law provides:

           (a) It shall be an unlawful discriminatory practice for any person,
           being the owner, lessee, proprietor, manager, superintendent, agent or
           employee of any place or provider of public accommodation because
           of the actual or perceived … disability … of any person, directly or
           indirectly, to refuse, withhold from or deny to such person any of the
           accommodations, advantages, facilities or privileges thereof … to the
           effect that any of the accommodations, advantages, facilities and
           privileges of any such place or provider shall be refused, withheld
           from or denied to any person on account of … disability …

           NYC Admin. Code § 8-107(4)(a).

    22.    Defendants are in violation of the New York City Human Rights Law

           by denying the Plaintiff full and safe access to all of the benefits,

           accommodations and services of the Subject Facility.

    23.    The Plaintiff repeats and re-alleges the allegations of paragraphs 1

           through 22 as if set forth in their entirety herein.

COUNT III - VIOLATIONS OF THE NEW YORK STATE HUMAN RIGHTS
                               LAW

    24.    The New York State Human Rights Law provides:
           (a) It shall be an unlawful discriminatory practice for any person, being
           the owner, lessee, proprietor, manager, superintendent, agent or
           employee of any place of public accommodation…. because of the …
           disability … of any person, directly or indirectly, to refuse, withhold
           from or deny to such person any of the accommodations, advantages,
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         facilities or privileges thereof … to the effect that any of the
         accommodations, advantages, facilities and privileges of any such place

         shall be refused, withheld from or denied to any person on account of …
         disability ……NYS Executive Law § 296 (2)(a).
   25.   Defendants’ Property is a place of public accommodation as defined in

         the New York State Human Rights Law.

   26.   The Defendants have further violated the New York State Human Rights

         Law by being in violation of the rights provided under the ADA.

   27.   Defendants are in violation of the New York State Human Rights Law by

         denying the Plaintiff full and safe access to all of the benefits,

         accommodations and services of the Subject Facility.

   28.   The Defendants have failed to make all readily achievable

         accommodations and modifications to remove barriers to access in

         violation of Executive Law §296(2)(c)(iii).

   29.   The Plaintiff repeats and re-alleges the allegations of paragraphs 1 through

         27 as if set forth in their entirety here.

   30.   As a direct and proximate result of Defendants’ unlawful

         discrimination, in violation of the Executive Law, Plaintiff has suffered

         and continues to suffer emotional distress, including, but not limited to

         humiliation, embarrassment, stress and anxiety.

   32.   The Defendants have subjected, and continues to subject, Plaintiff to

         disparate treatment by directly and/or indirectly refusing, withholding,

         and denying the full accommodations of the Subject Facility, and

         advantages, facilities and privileges of its place of public accommodation,

         all because of disability, in violation of Administrative Code § 8-107(4).
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   33.         The Defendants have discriminated against Plaintiff in violation of

               Administrative Code of the City of New York, § 8-107(4), and Local

               Law 58 by maintaining and/or creating an inaccessible place of public

               accommodation.

    34. The Local Civil Rights Restoration Act of 2005 (the "Restoration

               Act"), also known as Local Law 58, clarified the scope of the

               Administrative Code in relation to the New York City's Human Rights

               Law. The Restoration Act confirmed the legislative intent to abolish

               "parallelism" between the Administrative Code and the Federal and

               New York State anti-discrimination laws by stating as follows:

               The provisions of this title shall be construed liberally for the

               accomplishment of the uniquely broad and remedial purposes thereof,

               regardless of whether federal or New York State civil and human

               rights laws, including those laws with provisions comparably-worded

               to provisions of this title, have been so construed.

                      Restoration Act § 7 amending Administrative Code § 8-130

                      (emphasis added).

         35.     The Administrative Code is to be construed broadly in favor of

                 Plaintiff to the fullest extent possible. Albunio v. City of New York,

                 2011 NY Slip Op 02480 (N.Y. Court of Appeals, March 31, 2011).

         36.      As a direct and proximate result of the Defendants' unlawful

                 discrimination, in violation of Administrative Code of the City of

                  New York, Plaintiff has suffered an injury in fact.

         37. The Defendants' long-standing refusal and/or lack of effort to make
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        the Subject Facility fully accessible was egregious and undertaken

        with reckless disregard to Plaintiff's rights under the Administrative

        Code.

       38.   By failing to comply with the law in effect for decades, the

             Defendants have articulated to disabled persons, such as the

             Plaintiff, that they in effect are not welcome and not desired as

              patrons of its place of public accommodation.

       39. The Defendants unlawful discriminatory conduct constitutes

             willful and wanton violations of the Administrative Code for

             which Plaintiff is entitled to an award of punitive damages.

             Administrative Code § 8-502.

       40. The Plaintiff repeats and re-alleges the allegations of paragraphs

             1 through 36 as if set forth in their entirety here.

                         ATTORNEYS’ FEES AND COSTS

       41. The Plaintiff has been obligated to retain the undersigned counsel for the

         filing and prosecution of this action. The Plaintiff is entitled to have his

         reasonable attorneys’ fees, costs and expenses paid by the Defendants,

         pursuant to the ADA and the New York City Human Rights Law.

         Plaintiff prays for judgment pursuant to N.Y. Exec. Law § 297, including

         compensatory damages contemplated by § 297(9).

                                   DAMAGES

        42. Plaintiff demands compensatory damages in the sum of TWENTY-

        FIVE THOUSAND DOLLARS ($25,000.00) per violation of the

        NYCHRL and the NYSHRL, severally;
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                                 INJUNCTIVE RELIEF

        43. Pursuant to 42 U.S.C. § 12188, this Court is vested with the authority to

        grant the Plaintiff’s injunctive relief; including an order to alter the subject

        facilities to make them readily accessible to, and useable by, individuals with

        disabilities to the extent required by the ADA, the New York City

        Human Rights Law, and the New York State Human Rights Law and

        closing the subject facilities until the requisite modifications are completed.

                  WHEREFORE, the Plaintiff hereby demands judgment against the

         Defendants and requests the following injunctive and declaratory relief:

   A.    The Court declares that the subject property and Subject Facility

         owned, operated, leased, controlled and/or administered by the

         Defendants are violative of the ADA, the New York City Human

         Rights Law, Executive Law and of the New York State Human

         Rights Law;

   B.    The Court enter an Order requiring the Defendants to alter their

         facilities and amenities to make them accessible to and usable by

         individuals with disabilities to the full extent required by the Title

         III of the ADA, the NYCHRL and the NYSHRL; issue a

         permanent injunction ordering the Defendants to remove all

         violations of the ADA, Executive Law and Administrative Code,

         including, but not limited to, the violations set forth above;

   C.   Award plaintiff compensatory damages in a sum of TWENTY-
        FIVE THOUSAND DOLLARS ($25,000.00) per violation, of the
        NYCHR and the NYSHRL, severally;
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   D.    Issue a permanent injunction against the Defendants, requiring

         Defendants, and all persons or entities in active concert therewith,

         to provide accessible route into the restaurant at the Premises for

         individuals who use wheelchairs, and to make all public portions of

         the   premises accessible to him and others so situated.

   E.    Find that Plaintiff is a prevailing party in this lawsuit and award

         reasonable attorney's fees, costs and expenses against Defendants, and

         award such other and further relief, at law or in equity, to which Plaintiff

         may be justly entitled;

   F.    Retain jurisdiction over the Defendants until the Court is satisfied that the

         Defendants' unlawful practices, acts and omissions no longer exist and will

         not reoccur;

   G.    The Court awards such other and further relief as it deems necessary, just

         and proper.

                                   JURY DEMANDED

         Plaintiff demands a trial by jury of all issues of fact and damages.



    Dated: Syosset, New York
            March 7, 2018



                                                    S/S
                                       Stuart H. Finkelstein, Esq.
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                            Exhibit A
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